Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 1 of 8

UNITED STATES DlSTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

)
IN RE APPLICATION OF THE ) Ca$e'. 1:18-m|-00625
UNITED STATES OF AMERICA FOR ) Assigned To : Meriweather, Robin M.
AN ORDER PURSUANT T 0 ) Assign. Date : 9/4/2018
18 U.S.C. § 3512 ) Description: Misc. (UNSEALED)
)
Request from Germany for Assistance in a )
Criminal Matter: Bank and Business Records )
)

 

DOJ Ret`erence Number CRM-182-64620

APPLICATION OF THE UNlTED STATES
FOR AN ORDER PURSUANT TO 18 U.S.C. § 3512

 

The United States of America, moving by and through its undersigned counsel,
respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,
appointing the undersigned attorney, Erica O’Brien Waymack, Trial Attorney, Oft`lce of
lnternational Affairs (or a substitute or successor subsequently designated by the Office of
lnternational Affairs), as a commissioner to collect evidence from Witnesses and to take such
other action as is necessary to execute a request for assistance in a criminal matter from
Germany. In support of this application, the United States asserts:

RELEVANT FACTS

l. On July 2, 2018, the German Federal Oft`lce of Justice submitted a request for
assistance (hereinafter, the “Request”) to the United States, pursuant to the Treaty Between the
United States of America and the Federal Republic of Germany on Mutual Legal Assistance in

Criminal l\/latters, U.S.-F.R.G., Oct. 14, 2003, S. TREATY DOC. NO. 108-27 (2004), as

Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 2 of 8

supplemented by the Supplementary Treaty to the Treaty Between the United States of America
and the Federal Republic of Germany on Mutual Legal Assistance in Criminal Matters, U.S.-
F.R.G., April 18, 2006, S. TREATY DOC. NO. 109-13 (2006) (hereinafter, the “Treaty”). As
stated in the Request, the Mannheim Public Prosecutor’s Office is investigating fraud,
embezzlement, and tax-related offenses, which occurred between on or about January 1, 2011
and December 31, 2015, in violation of the criminal law of Germany, specifically, Sections 263
and 266 of the German Criminal Code and Section 370 of the German Fiscal Code. A copy of
the applicable law is included as Attachrnent A to this application, Under the Treaty, the United
States is obligated to render assistance in response to the Request.

2. Authorities in Germany are presently investigating Dietmar Bohnke and Manfred
Bohnke for embezzlement and tax evasion offenses occurring between approximately January 1,
2011 and December 31, 2015. German authorities have determined that, in their capacity as
shareholders of several companies, Dietmar Bohnl<e and Manfred Bohnke convinced their co-
shareholders to loan large sums of money to two companies, ll\/IG Immobilien Marketing
Verwaltungs (hereinafter, “IMG lmmo”) and B3 Immobilien GmbH (hereinafter, “B?)”), both of
which were controlled by Dietmar Bohnke and Manfred Bohnke. According to German
authorities, Dietmar Bohnke and Manfred Bohnke represented to the creditors that the funds
loaned to IMG Immo and B3 would be invested in a new company in Ghana, IMG AND Co.
Ltd. (hereinaf`ter, “ll\/IG AND”).

3. The German investigation revealed that no such company existed in Ghana, and
that immediately after receipt of the loan proceeds in ll\/IG lmmo’s and B3’s accounts, Dietmar

Bohnke and Manfred Bohnke transferred the proceeds to various bank accounts located in the

Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 3 of 8

United States, Taiwan, Singapore, Malaysia, Hong Kong, Switzerland, and Ghana. Speciflcally,
on July 8, 2011, following the receipt of a loan from one or more investor companies,
approximately €341,631.96 (approximately equivalent to 8400,000 USD) was transferred from
Il\/IG lmmo’s account to Bank of America account number XXXXXXXX9470 in the United
States, held in the name of “QMV Atlantic Trade Inc.”

4. To further the investigation, authorities in Germany have asked U.S. authorities to
provide bank records from Bank of America, N.A., pertaining to account number
XXXXXXXX9470, and business records pertaining to QMV Atlantic Trade, Inc. in the United
States.

LEGAL BACKGROUND

 

The Treaty

5. A treaty constitutes the law of the land. U.S. Const. art. VI, cl.2. The provisions
of a treaty have equal footing with acts of Congress and are binding on the courts. §e_e Asakura
v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggv, 5 U.S. 103 (1801);

United States v. Emu§gbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

 

should be construed liberally “to give effect to the purpose which animates it.” United States v.
Stu_gr_t, 489 U.S. 353 (368) (1989) (internal quotation marks omitted). To the extent that the
provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes
the statute. Zschernig v. Miller, 389 U,S. 429, 440~41 (1968).

6. The United States and Germany entered into the Treaty to promote more effective
cooperation and assistance between the parties in criminal matters g Treaty pmbl. The Treaty

obligates each party, upon request, to provide assistance to the other in criminal investigations,

l ll'

Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 4 of 8

prosecutions, and related proceedings, including assistance in serving documents, obtaining
testimony, statements, and records, and executing searches and seizures Article 1. In addition,
the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use compulsory measures to
further the execution of such requests. Article 19(3) (“The courts . . . shall have . . . authority to

issue such orders . . . as are necessary to execute the request.”).

18 U.S.C. § 3512

7. When executing a treaty or non-treaty request for assistance from a foreign
authority, an attorney for the government may file an application to obtain any requisite court
orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and
provides in pertinent part:

Upon application, duly authorized by an appropriate official of the Department of
Justice, of an Attorney for the Government, a F ederal judge may issue such orders
as may be necessary to execute a request from a foreign authority for assistance in
the investigation or prosecution of criminal offenses, or in proceedings related to
the prosecution of criminal offenses, including proceedings regarding forfeiture,
sentencing, and restitution

* * *

[A]n application for execution of a request from a foreign authority under this
section may be filed . . . in the District of Columbia.

=l< * *

The term “foreign authority” means a foreign judicial authority, a foreign
authority responsible for the investigation or prosecution of criminal offenses or
for proceedings related to the prosecution of criminal offenses, or an authority
designated as a competent authority or central authority for the purpose of making
requests for assistance pursuant to an agreement or treaty with the United States
regarding assistance in criminal matters

18 U_s.C. § 3512(3)(1), (c)(3), (h)(z).

Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 5 of 8

8. Congress enacted this section to make it “easier for the United States to respond
to [foreign] requests by allowing them to be centralized and by putting the process for handling
them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.
Whitehouse); Foreign Evidence Request Efticiency Act of 2009, Pub. L. No. 111-79, 123 Stat.
2086.l This section provides clear authority for the federal courts, upon application duly
authorized by an appropriate official of the Department of Justice, to issue orders which are
necessary to execute a foreign request

9. An application is duly authorized by an appropriate official of the Department of
Justice when the Office of lntemational Affairs, which serves as the “Central Authority” for the
United States, has reviewed and authorized the request, and executes the request itself or
delegates execution to another attorney for the government2 Upon such a duly authorized
application, Section 3512 authorizes a federal j udge3 to issue “such orders as may be necessary

to execute [the] request,” including: (1) search warrants under Fed. R. Crim. P. 41; (2) orders for

 

l Prior to the enactment of 18 U.S.C, § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the “commissioner” process) to execute requests from foreign
authorities _See_ ln re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were previously executed); see also lntel Corp. v. Advanced Micro Devices lnc., 542 U.S. 241, 247-49
(2004) (describing history of Section 1782). When enacting Section 3512, Congress anticipated that
improved U.S. handling of foreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations See, e.g., 155 Cong. Rec. 10,093 (2009) (statement of Rep.
Schiff).

 

2 The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of lnternational Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters § 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81A and 81B.

3 The term “federaljudge” includes a magistratejudge. §e_e 18 U.S.C. § 35 12(h)(1) and Fed. R, Crim. P.
l(b)(3)(B) (including a magistratejudge in the definition of federaljudge).

Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 6 of 8

electronic records under 18 U.S.C. § 2703; (3) orders for pen registers or trap and trace devices
under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the taking of testimony or
statements and/or the production of documents or other things. § 18 U.S.C. § 3512(a)(1)-
(b)(l). ln addition, a federal judge may prescribe any necessary procedures to facilitate the
execution of the request, including any procedures requested by the foreign authority to facilitate
its use of the evidence g In re Letter of Request from the Crown Prosecution Service of the
United Kingdom, 870 F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing
procedures to be followed in executing foreign request under 28 U.S.C. § 1782); c_f. White v.
National Football League, 41 F.3d 402, 409 (8th Cir. 1994) (court may issue process necessary
to facilitate disposition of matter before it); Fed. R. Crim. P. 5 7(b).

10. Section 3512 also authorizes any person appointed to direct the taking of
testimony or statements and/or the production of documents or other things to: (1) issue an order
requiring a person to appear and/or produce documents or other things; (2) administer any
necessary oaths; (3) take testimony or statements;,and (4) take receipt of documents or other
things. 18 U.S.C. § 3512(b)(2). ln ordering a person to appear and/or produce documents or
other things, the person appointed, commonly referred to as the “commissioner,” typically uses a
subpoena entitled “Commissioner Subpoena.” Any such subpoena or any other order, subject to
subsection (d), may be served or executed anywhere in the United States. 18 U.S.C. § 3512(f).
A copy of a “Commissioner Subpoena” is included as Attachment B.

REQUEST FOR ORDER

 

ll. The Office of Intemational Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 7 of 8

undersigned attorney as a commissioner to collect evidence from witnesses and to take such
other action as is necessary to execute the Request has been “duly authorized” within the
meaning of Section 3512. In addition, the Request was submitted by an appropriate “foreign
authority,” i.e., the German Federal Office of Justice, the designated Central Authority in
Germany for requests made pursuant to the Treaty, and seeks assistance in the investigation of
embezzlement and tax-related offenses in Germany. Furthermore, the requested Order is
necessary to execute the Request, and the assistance requested, i.e., the production of bank and
business records, falls squarely within that contemplated by both the Treaty and Section 3512.
Finally, this application was properly filed in the District ofColumbia.

12. Both Section 3512 and the Treaty authorize the use of compulsory process in the
execution of treaty requests comparable or similar to that used in domestic criminal
investigations or prosecutions Because subpoenas utilized in U.S. criminal proceedings (i.e.,
grand jury and criminal trial subpoenas) are issued without notice to any person other than the
recipient (i.e., no notice to targets or defendants), orders and commissioner subpoenas issued in
execution ofa treaty request pursuant to Section 3512 and the applicable treaty likewise should
require no notice other than to the recipients This is true even if the Requesting State, as here,
seeks financial records, because the Right to Financial Privacy Act, 12 U.S.C. §§ 3401 et seq.,
including its notice provisions, does not apply to the execution of foreign requests for legal

assistance Youngv. U.S. Dept. of Justice, 882 F,2d 633, 639 (2d Cir. 1989), cert. denied, 493

 

U.S. 1072 (1990); ln re Letters of Request from the Supreme Court of Hong Kong, 821 F. Supp.
204, 211 (S.D.N.Y. 1993); ln re Letter of Request for Judicial Assistance from the Tribunal Civil

de Port-Au-Prince1 Rg)ublic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this

 

Case 1:18-m|-00625-RI\/|I\/| Document 1 Filed 09/04/18 Page 8 of 8

Court should authorize a commissioner to collect lthe evidence requested without notice to any
person other than the recipient(s) of the commissioner subpoena(s).

13. Therefore, the United States respectfully requests that this Court issue the
attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Erica
O’Brien Waymack, Trial Attomey, Office of International Affairs (or a substitute or successor
subsequently designated by the Office of International Affairs) as a commissioner, authorizing
the undersigned to take the actions necessary, including the issuance of a commissioner

subpoena(s), to obtain the evidence requested in a form consistent with the intended use thereof.

Respectfully submitted,

VAUGHN A. ARY

DIRECTOR

OFFICE OF fNTERNATIONAL AFFAIRS
OK Bar Number 12199

By: Q;WJSHM_L_
EricaO rien Way ack

Trial Attomey

N.Y. Attorney Registration No. 4912812
Office of International Affairs

Criminal Division, Department of Justice
1301'New York Avenue, N.W., Suite 800
Washington, D.C. 20530

(202) 514-9845 telephone

(202) 514-0080 facsimile
Erica.O’Brien.Waymack@usdoj.gov

